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                 IN THE UNITED STATES DISTRICT COURT
             FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                            AT CHARLESTON

UNITED STATES OF AMERICA

v.                                             CRIMINAL NO. 2:99-00012-08

MIKE S. MEADOWS

                MEMORANDUM OPINION AND JUDGMENT ORDER

     Pending before the Court is Defendant's motion, brought

pursuant to 18 U.S.C. § 3582(c)(2), to reduce his sentence based

on a subsequent reduction in the applicable sentencing guideline.

On November 1, 2007, the United States Sentencing Guidelines were

amended to reduce by two levels the guidelines in Section 2D1.1

for cocaine base (also known as crack).          Subsequently, the

Sentencing Commission amended Section 1B1.10 to make the crack

amendment retroactive, effective March 3, 2008.             Pursuant to the

court's Standing Order, this case was designated for Standard

consideration on March 24, 2008.

     The Court has received and considered the original

Presentence Investigation Report (PSI), original Judgment and

Commitment Order and Statement of Reasons, addendum to the PSI

received from the Probation Office, and any materials submitted

by the parties on this issue.        The Court has also considered the

applicable factors under 18 U.S.C. § 3553(a), consistent with §

3582(c)(2), and public safety.

     The United States has indicated that it does not object to a

two-level reduction in the defendant's sentence.
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      Based on the foregoing considerations, the Motion is

GRANTED.   The Court ORDERS that Defendant’s base offense level be

reduced by two levels, resulting in a new total offense level of

32.   It is further ORDERED that Defendant’s previous sentence be

reduced to 135 months.      This Order is subject to the prohibition

contained within U.S.S.G. § 1B1.10(b)(2)(C).

      The Clerk is DIRECTED to send a copy of this Memorandum

Opinion and Judgment Order, as well as the Order Regarding Motion

for Sentence Reduction (AO 247) filed this day, to defendant, the

Federal Public Defender, counsel of record, the United States

Marshal for the Southern District of West Virginia, and to the

United States Probation Office for forwarding to the Sentencing

Commission and Bureau of Prisons.

      It is SO ORDERED this 28th day of July, 2008.

                                           ENTER:


                                       David A. Faber
                                       United States District Judge
